Case 1:21-cv-00104-TSK-MJA Document 58 Filed 09/19/22 Page 1 of 1 PageID #: 1127



                   IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF WEST VIRGINIA


 MOUNTAIN EAST CONFERENCE,

             Plaintiff,

 v.                                        CIVIL ACTION NO. 1:21-CV-104
                                                     (KLEEH)

 FRANKLIN UNIVERSITY, an Ohio
 non-profit corporation; and
 FRANKLIN UNIVERSITY - URBANA, LLC,
 d/b/a URBANA UNIVERSITY an Ohio
 limited liability company,

             Defendants.


         ORDER GRANTING PLAINTIFF’S MOTION TO FILE UNDER SEAL

       Plaintiff Mountain East Conference, by counsel, moves the
 Court for leave to file Memorandum of Law in Support of Plaintiff
 Mountain East Conference’s Motion for Summary Judgment [ECF No.
 53-2] and Exhibit E under seal. ECF No. 53.
       The Court, finding good cause, GRANTS the motion [ECF No. 53]
 and DIRECTS the Clerk of Court to file Memorandum of Law in Support
 of   Plaintiff    Mountain    East   Conference’s    Motion   for   Summary
 Judgment [ECF No. 53-2] and Exhibit E [ECF No. 53-3] UNDER SEAL.
       It is so ORDERED.
       The Clerk is directed to transmit copies of this Order to
 counsel of record.
       DATED: September 19, 2022


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                                      THOMAS S. KLEEH, CHIEF JUDGE
                                      NORTHERN DISTRICT OF WEST VIRGINIA
